Case o-Us-oy/3o-SD VOC lL Filed LlilfsoQ/Oo Entered 11/50/05 Loiécics

Form BéI
(12/03)

In re William M. Denninger, Caryn Denninger , Case No. 805-89798-sb

Debtor (if known)

SCHEDULE | - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)

Debtor's Marital

Status: Married DEPENDENTS OF DEBTOR AND SPOUSE

Debtor's Age: RELATIONSHIP AGE

Spouse’s Age: Son 2
EMPLOYMENT: DEBTOR SPOUSE

Occupation Sales Housewife

Name of Employer Esquire Deposition Svc LLC

How long employed 5 months

Address of Employer Miami FL 33130

Income: (Estimate of average monthly income) DEBTOR SPOUSE
Current monthly gross wages, salary, and commissions
(pro rate if not paid monthly.) $ 6,944.58 ¢ 0.00
Estimated monthly overtime $ 0.00 $ 0.00
SUBTOTAL $ 6,944.58 $ 0.00
LESS PAYROLL DEDUCTIONS
a. Payroll taxes and social security © $ 1,507.57 ¢ 0.00
b. Insurance $ 652.35 $ 0.00
c. Union dues $ 0.00 ¢ 0.00
d. Other (Specify) $ 0.00 $ 0.00
SUBTOTAL OF PAYROLL DEDUCTIONS $ 2,159.92. $ 0.00
TOTAL NET MONTHLY TAKE HOME PAY | $ 4,784.66 ¢ 0.00
Regular income from operation of business or profession or farm )
(attach detailed statement) $ 0.00 ¢$ 0.00
Income from real property $ 0.00 ¢$ 0.00
Interest and dividends $ 0.00 ¢ 0.00
Alimony, maintenance or support payments payable to the debtor for the
debtor's use or that of dependents listed above. $ 0.00 $ 0.00
Social security or other government assistance
(Specify) $ 0.00 ¢ 0.00
Pension or retirement income $ 0.00 $ 0.00
Other monthly income
(Specify) $ 0.00 $ 6.00
TOTAL MONTHLY INCOME $ 4,784.66 $ 0.00
TOTAL COMBINED MONTHLY INCOME $ 4,784.66 (Report also on Summary of Schedules)

Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the year following
the filing of this document: :

None

Note: Gross includes regular hours, commissions and support pay. Gross and payroll taxes are based on
average using year to date payroll figures for pay period ending 09/30/05, which represents seven bi-weekly
pay periods.

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Form B6J
(6/90)

inre William M. Denninger, Caryn Denninger

Debtor

Case No.

805-89798-sb

(if known)

SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)

{1 Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate

schedule of expenditures labeled "Spouse".

Rent or home mortgage payment (include lot rented for mobile home) $ 1,200.00
Are real estate taxes included? Yes No ¥
Is property insurance included? Yes No v
Utilities Electricity and heating fuel TT $ 0.00
Water and sewer $ 0.00
Telephone $ 90.00
Other Cell Phones $ 180.00
Home maintenance (repairs and upkeep) $ 0.00
Food $ 550.00
Clothing $ 250.60
Laundry and dry cleaning $ 180.00
Medical and dental expenses $ 479.00
Transportation (not including car payments) $ 600.00
Recreation, clubs and entertainment, newspapers, magazines, etc. $ 200.00
Charitable contributions $ 0.00
Insurance (not deducted from wages or included in home mortgage payments)
Homeowner's or renter’s Las S$ 0.00
Life $ 38.00
Health $ 0.00
Auto $ 400.00
Other $ 0.00
Taxes (not deducted from wages or included in home mortgage payments)
(Specify) Taxes $ 175.00
Installment payments: (In chapter 12 and 13 cases, do not list payments to be included in the pian)
Auto $ 614.90
Other $ 0.00
Alimony, maintenance or support paid to others $ 0.00
Payments for support of additional dependents not living at your home $ 0.00
Regular expenses from operation of business, profession, or farm (attach detailed statement) $ 0.00
Other $ 0.00
TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules) $ 4,956.90

[FOR CHAPTER 12 AND 13 DEBTORS ONLY]

Provide the information requested below, including whether plan payments are to be made bi-weekly, monthly, annually, or at

some other regular interval.

A. Total projected monthly income

B. Total projected monthly expenses

C. Excess income (A minus B)

D. Total amount to be paid into plan each

AHH th tA

(interval)

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Form B6
(6/90)
United States Bankruptcy Court
Eastern District of New York
inre William M. Denninger Caryn Denninger CaseNo. 805-89798-sb
Chapter 7
AMOUNTS SCHEDULED
ATTACHED
NAME OF SCHEDULE (YES/NO) NO. OF SHEETS ASSETS LIABILITIES OTHER
A- Real Property YES 4
B - Personal Property YES 3
C - Property Claimed
as Exempt YES 1
D- Creditors Holding i :
Secured Claims YES 1 So — be oo
E- Creditors Holding Unsecured, ‘
Priority Claims YES 2
F - Creditors Holding Unsecured
Nonpriority Claims YES 5
G - Executory Contracts and
Unexpired Leases YES 1
H - Codebtors . YES 4
|- Current Income of
Individual Debtor(s) YES 1
J- Current Expenditures of
Individual Debtor(s) YES 1
Total Number of sheets 47
in ALL Schedules
Total Assets > 4,800.00

Total Liabilities

$ 152,680.95

Case o-Us-oy/3o-SD VOC lL Filed LlilfsoQ/Oo Entered 11/50/05 Loiécics

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

Chapter 7
IN RE: Case No.: 805-89798-sb

WILLIAM M. DENNINGER and
CARYN DENNINGER,

Debtors.

x

AFFIRMATION AS TO SCHEDULES, STATEMENTS AND CHAPTER 13 PLAN

William M. Denninger and Caryn Denninger, the debtors herein, by and through their
undersigned attorney affirms as follows:

1. Debtors filed a petition under Chapter 7 of the Bankruptcy Code on October 15,
2005.

2. The debtors schedules “I”, “J”, Summary of Schedules, Statement LR1073-2b
and Prepetition Statement 2017 were not filed at the time of filing of the said
petition, and are being filed herewith.

3. [Check applicable box]:

x The schedules filed herewith reflect no additions or correction to, or
deletions from, the list of creditors which accompanied the petition

Annexed hereto is a listing of names and addresses of scheduled creditors
added to or deleted from the list of creditors which accompanied the
petition. Also listed, as applicable, are any scheduled creditors whose
previously listed names and/or addresses have been corrected. The nature
of the change (addition, deletion or correction) is indicated for each
creditor listed.
Case o-Us-oy/3o-SD VOC lL Filed LlilfsoQ/Oo Entered 11/50/05 Loiécics

5. [Jf creditors have been added| An amended mailing matrix is annexed hereto,
listing added creditors ONLY, in the format prescribed by Local Rule 1007-

2(b)(i).

Reminder: No amendment of schedules is effective until proof of service in accordance with
EDNY LBR 1009-1(6) has been filed with the Court.

Any additions to the list of creditors which accompanied the petition will be deemed an
amendment to that list; if will be deemed to constitute a motion for a 30-day extension of time
within which any added creditors may file a complaint to object to the discharge of the debtor
and/or to determine dischargeability. This motion will be deemed granted without a hearing if no
objection is filed with the Court and served on debtor within 10 days following filing of proof of
service of this affirmation, all attachments and the amended schedules in accordance with EDNY
LRB 1009-1
a
Dated: Woodbury, New York (\ ——
November 30, 2005 ‘

Heath 8. Berger

Steinberg, Fineo, Berger

& Barone, P.C.

40 Crossways Park Drive
Woodbury, New York 11797
(516) 747-1136
